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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

  VERVICIA HENDERSON et al.,

        Plaintiffs,
                                                            Case No. 6:21-cv-1363-37DCI
  v.

  LOCKHEED MARTIN CORPORATION et al.,

        Defendants.


    LOCKHEED MARTIN’S MOTION TO SUBMIT EVIDENCE AND
 ANALYSIS OF DR. PANIGRAHY’S PLAGIARISM IN OTHER LITIGATION

       Pursuant to Local Rule 3.01(d), Lockheed Martin moves for leave to file a reply

 in support of its motion to exclude the proffered testimony of Dr. Panigrahy

 (Doc. 139)—specifically, to file Dr. Panigrahy’s expert report submitted in In re Zantac

 (Ranitidine) Products Liab. Litig., No. 20-MD-2924 (S.D. Fla. 2020), and to direct the

 Court to plagiarism in that report and potentially other work product.

       Lockheed Martin has moved to exclude the expert opinions of Dr. Panigrahy

 in part because his expert report evinces substantial and material plagiarism.

 (Doc. 139 at 12–22.) Most significantly, Dr. Panigrahy plagiarized extensive portions

 of his report from IARC Monographs, holding IARC working groups’ selections,

 compilations, and analyses of epidemiological studies out as his own (but routinely

 omitting or mischaracterizing IARC’s contrary conclusions). (See id.)

       At the January 24 general-causation motions hearing, the Court indicated that

 it might find a review of Dr. Panigrahy’s report in the Zantac MDL helpful to the


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 Court’s assessment of Dr. Panigrahy’s report in this case. Consequently, Lockheed

 Martin obtained and analyzed Dr. Panigrahy’s Zantac report.

       Contrary to Dr. Panigrahy’s sworn testimony that no portion of his initial report

 came from a report he prepared in another case (Doc. 136-3 at 17–18 (beginning at

 deposition page 65, line 22)), portions of Dr. Panigrahy’s Zantac report are

 substantially identical to his report here. More significantly, Lockheed Martin has

 identified in the distinct portions of the Zantac report evidence of plagiarism similar in

 kind to Dr. Panigrahy’s plagiarism in this case, holding out others’ analyses of

 scientific literature as his own and citing only the underlying literature, if anything.

       Accordingly, Lockheed Martin respectfully requests ten days to complete its

 analysis and submit a brief of no more than ten pages, in which Lockheed Martin will

 identify and explain instances of plagiarism in Dr. Panigrahy’s Zantac report and any

 other plagiarized work product Lockheed Martin identifies in that time period. This

 misconduct goes directly to the reliability of Dr. Panigrahy’s general-causation

 analyses and warrants careful scrutiny.

                                [Signatures of counsel below.]




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   Dated: February 13, 2023                        Respectfully submitted,

                                                   /s/ Ryan Hopper
   Francis A. Citera*                              David B. Weinstein (FBN 604410)
   citeraf@gtlaw.com                               weinsteind@gtlaw.com
   Gretchen N. Miller*                             Christopher Torres (FBN 0716731)
   millerg@gtlaw.com                               torresch@gtlaw.com
   GREENBERG TRAURIG, LLP                          Ryan T. Hopper (FBN 0107347)
   77 West Wacker Dr., Ste. 3100                   hopperr@gtlaw.com
   Chicago, Illinois 60601                         Raymond Jackson (FBN 1028350)
   Telephone: (312) 456-6583                       jacksonra@gtlaw.com
   Facsimile: (312) 899-0320                       Christopher R. White (FBN 1022219)
                                                   whitech@gtlaw.com
   *Specially admitted                             GREENBERG TRAURIG, P.A.
                                                   101 E. Kennedy Blvd., Ste. 1900
                                                   Tampa, Florida 33602
                                                   Telephone: (813) 318-5700
                                                   Facsimile: (813) 318-5900

                     Attorneys for Defendant Lockheed Martin Corporation

                         LOCAL RULE 3.01(g) CERTIFICATION

        I certify that counsel for Lockheed Martin conferred with counsel for Plaintiffs

 by Zoom on February 10, 2023, and that counsel for Plaintiffs oppose the relief

 requested in this Motion.

                                                    /s/ Ryan Hopper
                                                    Attorney

                                CERTIFICATE OF SERVICE

        I certify that on February 13, 2023, I electronically filed the foregoing with the

 Clerk of the Court by using the CM/ECF system, which will send a notice of electronic

 filing to counsel of record.

                                                    /s/ Ryan Hopper
                                                    Attorney


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